
Dykman, J.
A motion was made in this action to change the place of trial from the County of Kings to the County of Westchester, for the convenience of witnesses, and it was granted, Thereafter the defendant withdrew his answer, and then -the plaintiff moved to vacate the order which changed the venue, *67that motion was denied, and the plaintiff has appealed from the order of denial.
There is no merit in the appeal: the withdrawal of the answer furnished no reason for the vacation of the order changing the venue. There may be witnesses on the part of the defendant in the assessment of damages, whose convenience should be consulted.
The order should be affirmed, with ten dollars costs, besides disbursements.
BarNAKD and Pratt, JJ., concur.
